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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 18-80235-CR-RIDZ

  UNITED STATES OF AMERICA

  vs.

  SHERRY TINA UWANAWICH,

                                 Defendant.


                                        PLEA AGREEMENT

          The United States Attorney's Office for the Southern District of Florida ("this Office") and

  SHERRY TINA DWANAWICH (hereinafter referred to as the "defendant") enter into the

  following agreement:

          1.     The defendant agrees to plead guilty to Count 1 of the indictment, which count

  charges the defendant with wire fraud, in violation of Title 18, United State Code, Section 1343.

         2.      The United States agrees to seek dismissal of the remaining counts of the

  Indictment, as to this defendant, after sentencing.

         3. ·    The defendant is aware that the sentence will be imposed by the Court after

  considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter

  "Sentencing Guidelines"). The defendant acknowledges and understands that the Court will

  compu~e   an advisory sentence under the Sentencing Guidelines and that the applicable guidelines

  will be determined by the Court relying in part on the results of a pre-sentence investigation by the

  Court's probation office, which investigation will commence after the guilty plea has b.een entered.

  The defendant is also aware that, under certain circumstances, the Court may depart from the

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  advisory sentencing guideline range that it has computed, and may raise or lower that advisory

  sentence under the Sentencing Guidelines. The defendant is further aware and understands that

  the Court is required to consider the advisory guideline range determined under the Sentencing

  Guidelines, but is not bound to impose a sentence within that advisory range; the Court is permitted

  to tailor the ultimate sentence in light of other statutory concerns; and such sentence may be either

  more severe or less severe than the Sentencing Guidelines' advisory range. Knowing these facts,

  the defendant understands and acknowledges that the Court has the. authority to impose any

  sentence within and up to the statutory maximum authorized by law for the offense identified in

  paragraph 1 and that the defendant may not withdraw the plea solely as a result of the sentence

 .imposed.

          4.   The defendant also .understands and acknowledges that the Court may impose a

  statutory maximum term of imprisonment of up to 20 years, followed by a term of supervised

  release of up to 3 years. In addition to a term of imprisonment and supervised release, the Court

  may impose a fine of up to $250,000 and shall impose an order of restitution.

          5. The defendant further understands and acknowledges that, in addition to any.sentence

  imposed under paragraph 4 of this agreement, a special assessment in the amount of $100

  _will be imposed on the defendant. The defendant agrees that any special assessment imposed

  shall be paid at the time of sentencing. If a defendant is financially unable to pay the special

  assessment, the defendant agrees to present evidence to this Office and the Court at the time of

  sentencing as to the reasons for the defendant's failure to pay.

         6. This Office reserves the right to inform the Court and the probation office of all facts

  pertirient to the sentencing process, including all relevant llformation concerning the offenses

  committed, whether charged or not, as well as concerning the defendant and the defendant's
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  background. Subject olliy to the express terms of any agreed-upon sentencing recommendations

  contained in this agreement, this Office further reserves the right to make- any recommendation as

  to the quality and quantity of punishment.

          7. This Office agrees that it will recommend at sentencing that the Court reduce by two

  (or, if applicable, three) levels the sentencing guideline level applicable to the defendant's offense,

  pursuant to Section 3El.1 of the Sentencing Guidelines, based upon_the defendant's recognition

  and affirmative and timely acceptance of personal responsibility. This Office further agrees to

  recommend that the defendant be sentenced at the low end of the guideline range, as that range is

  determined by the Court. However, this Office will not be required to make these sentencing

  recommendations if the defendant: (1) fails or refuses to make full, accurate and complete

  disclosure to the probation office of the circumstances surrounding the relevant offense conduct;

  (2) is found to have misrepresented facts to the government prior to entering this plea agreement;

  or (3) commits any misconduct after entering into this plea agreement, including but not limited

  to committing a state or federal offense, violating any term of release, or making false statements

  or misrepresentations to any governmental entity or official.

          8. The United States and the defendant agree that, although not binding on the probation

  office or the 9ourt, they will jointly recommend that the court make the following findings and

  conclusions, based upon the Sentencing Guidelines, as to the sentence to be imposed:

          a. That the defendant's base offense level shall be 7, pursuant to Section 2B 1.1;

         b. That the defendant's base level offense shall be increased by 14 levels, based on a loss
                                        "
  of more than $550,000 but less than $1,500,000, pursuant to Section 2Bl.l(b)(l)(H);

          c. That the offense_ level is increased by two levels due to substantial financial hardship

  to a victim, pursuant to Section 2B 1.1 (b)(2)(A);
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         d. That the total offense level is 23. However, assuming the defendant qualifies for a

  three level reduction for acceptance of responsibility pursuant to paragraph 7 above, the total

 'offense level would be reduced to level 20.

         9. Notwithstanding the above, the defendant reserves the right to seek a downward

  variance of her sentence.

         10. The defendant is aware that the sentence has not yet been determined by the Court.

  The defendant also is aware that any estimate of the probable sentencing range or sentence that the

  defendant may receive, whether that estimate comes from the defendant's attorney, this Office, or

  the probation office, is a prediction, not a promise; and is not binding on this Office, the probation

  office or the Court. The defendant understands further that any recommendation that -µlls Office

  makes to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not binding

  on the Court and the Court may disregard the recommendation in its. entirety. The defendant

  understands and acknowledges, as previously acknowledged in paragraph 3 above, that the

  defendant may not withdraw her plea based upon the Court's decision not to accept a sentencing

  recommendation made by the defendant, this Office, or a recommendation made jointly by the

  defendant and this Office.




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          11. This is the entire agreement and understanding between this Office and the defendant.

  There are no other agreements, promises, representations, or understandings.


                                               ARIANA FAJARDO ORSHAN
                                               UNIT    TATES ATTORNEY


  Date:                        By:




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